         Case 3:20-cv-01101-SI        Document 1            Filed 07/08/20   Page 1 of 24




Thomas R. Rask, III
Oregon State Bar No. 934031
trask@kelrun.com
Kell, Alterman & Runstein, L.L.P.
520 SW Yamhill, Suite 600
Portland, OR 97204
Telephone: 503/222-3531
Fax: 503/227-2980
Attorneys for Plaintiff



                          UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                PORTLAND DIVISION

VIP PRODUCTS L.L.C., an Arizona limited
                                                                        Case No. 3:20-cv-01101
liability company,

                            Plaintiff,
                                                            COMPLAINT FOR UNFAIR
                     v.                                     COMPETITION, FALSE
                                                            DESIGNATION OF ORIGIN,
COASTAL FARM & HOME SUPPLY,                                 TRADE DRESS INFRINGEMENT,
LLC, an Oregon limited liability company;                   AND COPYRIGHT
and TAJ IMPORTS, INC., an Ohio                              INFRINGEMENT
corporation,
                                                            DEMAND FOR JURY TRIAL
                            Defendants.


                                         COMPLAINT

       Plaintiff VIP PRODUCTS L.L.C. (“Plaintiff”), for its Complaint against

Defendants Coastal Farm & Home Supply, LLC and Taj Imports, Inc., (collectively

“Defendants”), states and alleges the following:




Page 1 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
              Case 3:20-cv-01101-SI      Document 1            Filed 07/08/20   Page 2 of 24




         1.       This is an action for unfair competition and trade dress infringement under

Federal and Oregon state law; for false designation of origin, false or misleading

description or representation of facts, and unfair competition under the Federal

Trademark Act (15 U.S.C. §1051 et seq.); and for copyright infringement under the

Federal Copyright Act (17 U.S.C. §101 et seq.).

         2.       This court has jurisdiction over the subject matter of this civil action under

28 U.S.C. §1331 and 28 U.S.C. § 1338(a) and (b), and 15 U.S.C. §1121(a).

Supplemental subject matter jurisdiction over the claim for unfair competition and trade

dress infringement under Oregon law is provided by 28 U.S.C. §§1338(b) and 1367(a).

         3.       Venue in this judicial district is proper under 28 U.S.C. §1391(b) and (c).

         4.       Plaintiff VIP Products L.L.C. is an Arizona limited liability company

having a principal business address of 16515 S. 40th Street, Suite 121, Phoenix, Arizona

85048.

         5.       Upon information and belief, Defendant Coastal Farm & Home Supply,

LLC (“Coastal”) is an Oregon limited liability company having its principal place of

business in Albany, Oregon, and having retail outlets within Cornelius, Oregon

(Washington County); Gresham, Oregon (Multnomah County); Oregon City, Oregon

(Clackamas County); and The Dalles, Oregon (Wasco County).

         6.       Upon information and belief, Defendant Taj Imports, Inc. (“Taj”) is an

Ohio corporation having its principal place of business in Oakwood Village, Ohio.




Page 2 – COMPLAINT
                                       KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                                ATTORNEYS AT LAW                               01033930
                                           520 SW YAMHILL, SUITE 600
                                               PORTLAND, OR 97204
                                            TELEPHONE (503) 222-3531
                                             FACSIMILE (503) 227-2980
            Case 3:20-cv-01101-SI      Document 1            Filed 07/08/20   Page 3 of 24




                                          COUNT ONE

  Trade Dress Infringement, Unfair Competition, and False Designation of Origin

       7.       Upon information and belief, Taj is the owner of US Trademark Reg. No.

5,219,774 for the trademark “CRITTER CREED”.

       8.       The claims presented in this action relate to pet toys being sold by Coastal

bearing the trademark “CRITTER CREED”.

       9.       Upon information and belief, Taj has sold and shipped pet toys to Coastal

bearing the trademark “CRITTER CREED” for resale within the State of Oregon and

elsewhere, and Taj has derived substantial revenue therefrom.

       10.      Plaintiff is suffering injury in the District of Oregon as a result of Taj’s sale

and shipment of pet toys bearing the trademark “CRITTER CREED” to Coastal in the

District of Oregon, and by Coastal’s resale of such pet toys in this District.

       11.      Taj is subject to assertion of personal jurisdiction by this District Court

relative to the claims presented by Plaintiff in this Complaint.

       12       Plaintiff manufactures and distributes products for pets, including its line of

MIGHTY® and TUFFY® dog toys.

       13.      Included within Plaintiff’s MIGHTY® line of dog toys are a series of

distinctive-looking stuffed animals.




Page 3 – COMPLAINT
                                     KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                              ATTORNEYS AT LAW                               01033930
                                         520 SW YAMHILL, SUITE 600
                                             PORTLAND, OR 97204
                                          TELEPHONE (503) 222-3531
                                           FACSIMILE (503) 227-2980
           Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 4 of 24




         14.    One of such distinctive-looking stuffed animals is

Plaintiff’s MIGHTY® Nature Beaver (MT-N-Beaver) toy shown

to the right.

         15.    Another one of the distinctive-looking stuffed

animals within Plaintiff’s MIGHTY® line of dog toys is Plaintiff’s

MIGHTY® Farm Horse (MT-F-Horse) toy shown to the right.



         16.    Still another one of the distinctive-looking stuffed

animals within Plaintiff’s MIGHTY® line of dog toys is Plaintiff’s

MIGHTY® Junior Farm Pug (MTJR-F-Pug) toy shown to the right.

         17.    Another one of the distinctive-looking stuffed animals

within Plaintiff’s MIGHTY® line of dog toys is Plaintiff’s

MIGHTY® Nature Duck (MT-N-Duck) toy with a ringed

neck shown to the right.

         18.    Yet another one of the distinctive-looking stuffed animals within Plaintiff’s

MIGHTY® line of dog toys is Plaintiff’s MIGHTY®

Junior Nature Fox (MTJR-N-Fox) toy shown to the

right.

         19     Each of the dog toys identified in Paragraphs 14-18 above is highly

distinctive.


Page 4 – COMPLAINT
                                     KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                              ATTORNEYS AT LAW                               01033930
                                         520 SW YAMHILL, SUITE 600
                                             PORTLAND, OR 97204
                                          TELEPHONE (503) 222-3531
                                           FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 5 of 24




       20.    Upon information and belief, until Defendants’ activities complained of

herein began, Plaintiff was the sole and exclusive source of dog toys resembling a beaver,

a horse, a pug, a ring-necked duck, and a fox.

       21.    Plaintiff has been making, selling, and promoting each of the dog toys

identified in Paragraphs 14-18 above since at least 2012.

       22.    Plaintiff’s sales of the dog toys identified in Paragraphs 14-18 above

collectively exceeds $500,000.

       23.    Upon information and belief, dog owners associate dog toys resembling a

beaver, a horse, a pug, a ring-necked duck, and a fox with a particular source of dog toys,

namely, Plaintiff.

       24.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a beaver that simulates Plaintiff’s dog toy identified in Paragraph 14 above.

       25.    Exhibit 1 attached hereto is a photograph of Plaintiff’s “Beaver” dog toy

above and Defendants’ “Beaver” dog toy below.

       26.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a horse that simulates Plaintiff’s horse toy identified in Paragraph 15 above.

       27.    Exhibit 2 attached hereto is a photograph of Plaintiff’s “Horse” dog toy

above and Defendants’ “Horse” dog toy below.

       28.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a pug that simulates Plaintiff’s pug toy identified in Paragraph 16 above.




Page 5 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 6 of 24




       29.    Exhibit 3 attached hereto is a photograph of Plaintiff’s “Pug” dog toy below

and Defendants’ “Pug” dog toy above.

       30.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a ring-necked duck that simulates Plaintiff’s ring-necked duck toy identified

in Paragraph 17 above.

       31.    Exhibit 4 attached hereto is a photograph of Plaintiff’s “ring-necked duck”

dog toy below and Defendants’ “ring-necked duck” dog toy above.

       32.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a fox that simulates Plaintiff’s fox toy identified in Paragraph 18 above.

       33.    Exhibit 5 attached hereto is a photograph of Plaintiff’s “fox” dog toy below

and Defendants’ “fox” dog toy above.

       34.    Upon information and belief, Defendant Taj derived its design for the

Critter Creed beaver toy, the Critter Creed horse toy, the Critter Creed pug toy, the Critter

Creed ring-necked duck toy, and the Critter Creed fox toy, from Plaintiff’s MIGHTY®

toys shown in Exhibits 1, 2, 3, 4 and 5, respectively.

       35.    Included within Plaintiff’s TUFFY® line of dog toys are a series of

distinctive-looking stuffed barnyard animals.




Page 6 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 7 of 24




       36.    One of such distinctive-looking

barnyard animal dog toys within Plaintiff’s

TUFFY® line of dog toys is Plaintiff’s TUFFY®

Junior Barnyard Pig (T-JR-BY-Pig) toy with a pink

floral fleece pattern shown to the right.

       37.    Another one of such distinctive-looking barnyard

animal dog toys within Plaintiff’s TUFFY® line of dog toys is

Plaintiff’s TUFFY® Junior Barnyard Horse (T-JR-BY-Horse) toy

shown to the right.


       38.    Yet another one of such distinctive-

looking barnyard animal dog toys within

Plaintiff’s TUFFY® line of dog toys is Plaintiff’s

TUFFY® Junior Barnyard Duck (T-BY-Duck) toy

shown to the right.

       39.    Still another one of such distinctive-looking barnyard

animal dog toys within Plaintiff’s TUFFY® line of dog toys is

Plaintiff’s TUFFY® Junior Barnyard Bull (T-JR-BY-Bull) toy

shown to the right.




Page 7 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
          Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 8 of 24




       40.      Another one of such distinctive-looking

barnyard animal dog toys within Plaintiff’s TUFFY® line

of dog toys is Plaintiff’s TUFFY® Junior Barnyard

Turkey (T-JR-BY-Turkey) toy shown to the right.


       41.      A further one of such distinctive-looking

barnyard animal dog toys within Plaintiff’s TUFFY® line

of dog toys is Plaintiff’s TUFFY® Junior Barnyard Pony

(T-JR-BY-Pony) toy shown to the right.


       42.      Another one of the distinctive-looking

looking barnyard animal dog toys within Plaintiff’s

TUFFY® line of dog toys is Plaintiff’s TUFFY®

Barnyard Mouse Gray (T-BY-Mouse-G) dog toy shown

to the right.


       43.      Each of the “Barnyard” dog toys identified in Paragraphs 36-42 above is

highly distinctive, and each of such toys includes a black webbing sewn over and around

the outer seams of such toys.

       44.      Upon information and belief, until Defendants’ activities complained of

herein began, Plaintiff was the sole and exclusive source of dog toys resembling a pig




Page 8 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI        Document 1            Filed 07/08/20   Page 9 of 24




with a pink floral fleece pattern, a horse, a duck, a bull, a turkey, a pony, and a mouse, all

including black webbing sewn around the seams of such toys.

       45.    Plaintiff has been making, selling, and promoting each of the dog toys

identified in Paragraphs 36-40 and 42 above since at least 2011; the barnyard pony dog

toy described in Paragraph 41 was first introduced in 2018.

       46.    Plaintiff’s sales of the dog toys identified in Paragraphs 36-42 above

collectively exceeds $4,900,000.

       47.    Upon information and belief, dog owners associate dog toys resembling a

pig with a pink floral fleece pattern, a horse, a duck, a bull, a turkey, a pony, and a

mouse, with black webbing sewn around the seams, with a particular source of dog toys,

namely, Plaintiff.

       48.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a barnyard pig with a pink floral fleece pattern that simulates Plaintiff’s dog

toy identified in Paragraph 36 above.

       49.    Exhibit 6 attached hereto is a photograph of Plaintiff’s “pig with pink floral

pattern” dog toy above and Defendants’ “pig with pink floral pattern” dog toy below.

       50.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a barnyard horse that simulates Plaintiff’s TUFFY® Junior Barnyard Horse

dog toy identified in Paragraph 37 above.

       51.    Exhibit 7 attached hereto is a photograph of Plaintiff’s “barnyard horse”

dog toy below and Defendants’ “barnyard horse” dog toy above.

Page 9 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
        Case 3:20-cv-01101-SI        Document 1            Filed 07/08/20   Page 10 of 24




      52.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a barnyard duck that simulates Plaintiff’s TUFFY® Junior Barnyard Duck

dog toy identified in Paragraph 38 above.

      53.    Exhibit 8 attached hereto is a photograph of Plaintiff’s “barnyard duck” dog

toy on the right and Defendants’ “barnyard duck” dog toy on the left.

      54.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a bull that simulates Plaintiff’s TUFFY® Junior Barnyard Bull dog toy

identified in Paragraph 39 above.

      55.    Exhibit 9 attached hereto is a photograph of Plaintiff’s “barnyard bull” dog

toy above and Defendants’ “barnyard bull” dog toy below.

      56.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a turkey that simulates Plaintiff’s TUFFY® Junior Barnyard Turkey dog toy

identified in Paragraph 40 above.

      57.    Exhibit 10 attached hereto is a photograph of Plaintiff’s “barnyard turkey”

dog toy on the right and Defendants’ “barnyard turkey” dog toy on the left.

      58.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a pony that simulates Plaintiff’s TUFFY® Junior Barnyard Pony dog toy

identified in Paragraph 41 above.

      59.    Exhibit 11 attached hereto is a photograph of Plaintiff’s “barnyard pony”

dog toy below and Defendants’ “barnyard pony” dog toy above.




Page 10 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI        Document 1            Filed 07/08/20   Page 11 of 24




       60.    Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a gray mouse that simulates Plaintiff’s TUFFY® Barnyard Mouse Gray dog

toy identified in Paragraph 42 above.

       61.    Exhibit 12 attached hereto is a photograph of Plaintiff’s “gray mouse” dog

toy below and Defendants’ “gray mouse” dog toy above.

       62.    Upon information and belief, Defendant Taj derived its design for the

Critter Creed pink floral pig toy, the Critter Creed barnyard horse toy, the Critter Creed

barnyard duck toy, the Critter Creed barnyard bull toy, the Critter Creed barnyard turkey

toy, the Critter Creed pony toy, and the Critter Creed barnyard mouse toy, from

Plaintiff’s TUFFY® toys shown in Exhibits 6, 7, 8, 9, 10, 11 and 12, respectively.

       63.    Also included within Plaintiff’s TUFFY® line of dog toys are a series of

distinctive-looking activity toys.




Page 11 – COMPLAINT
                                     KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                              ATTORNEYS AT LAW                               01033930
                                         520 SW YAMHILL, SUITE 600
                                             PORTLAND, OR 97204
                                          TELEPHONE (503) 222-3531
                                           FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI      Document 1            Filed 07/08/20   Page 12 of 24




       64.   One of such distinctive-

looking activity dog toys within

Plaintiff’s TUFFY® line of dog toys is

Plaintiff’s TUFFY® 3-Way Tug Camo

Blue (T-U-3WT-CB) toy shown to the right.

       65.   Another one of the distinctive-looking

TUFFY® activity dog toys is Plaintiff’s TUFFY No Stuff

Ultimate Ring Red Paw (T-NS-U-R-RP) toy shown to

the right.

       66.   Like the other TUFFY® series toys

described above, Plaintiff’s TUFFY® 3-Way Tug Camo Blue activity toy and No Stuff

Ultimate Ring Red Paw toy include distinctive black protective webbing sewn over outer

seams of the toy.

       67.   Upon information and belief, until Defendants’ activities complained of

herein began, Plaintiff was the sole and exclusive source of activity dog toys resembling

the 3-Way Tug Camo Blue activity toy and No Stuff Ultimate Ring Red Paw toy, all

including black webbing sewn around the seams of such toys.

       68.   Plaintiff has been making, selling, and promoting TUFFY® 3-Way Tug

Camo Blue dog toys and Ultimate Ring Red Paw dog toys since 2010 or earlier.




Page 12 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI      Document 1            Filed 07/08/20   Page 13 of 24




        69.   Plaintiff’s sales of its TUFFY® 3-Way Tug Camo Blue dog toys and

Ultimate Ring Red Paw dog toys collectively exceeds $5 Million.

        70.   Upon information and belief, dog owners associate dog toys resembling the

3-Way Tug Camo Blue activity toy and No Stuff Ultimate Ring Red Paw toy, both

including black webbing sewn around the seams of such toys, with a particular source of

dog toys, namely, Plaintiff.

        71.   Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a 3-way tug toy with a blue camouflage fleece pattern that simulates

Plaintiff’s TUFFY® 3-Way Tug Camo Blue dog toy identified above.

        72.   Exhibit 13 attached hereto is a photograph of Plaintiff’s 3 Way Tug Camo

Blue activity dog toy on the right, and Defendants’ counterpart activity dog toy on the

left.

        73.   Coastal is offering for sale, and selling, Taj’s Critter Creed brand dog toy in

the form of a ring toy with a red paw-print fleece pattern that simulates Plaintiff’s

TUFFY® Ultimate Ring Red Paw dog toy identified above.

        74.   Exhibit 14 attached hereto is a photograph showing two versions of

Plaintiff’s TUFFY® Ultimate Ring Red Paw activity dog toy along the bottom and

Defendants’ counterpart activity dog toy along the top.

        75.   Upon information and belief, Defendant Taj derived its design for the

Critter Creed 3-way tug toy, and the Critter Creed ring toy, from Plaintiff’s MIGHTY®

toys shown in Exhibits 13 and 14, respectively.

Page 13 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI      Document 1            Filed 07/08/20   Page 14 of 24




       76.    Taj’s Critter Creed dog toys shown in attached Exhibits 1-14 have

simulated many of the distinctive features, such as the size, shape, color, color

combinations, texture, and graphics, of the corresponding dog toys made and sold by

Plaintiff.

       77.    When taken together, the size, shape, color, color combinations, texture,

and graphics, of Plaintiff’s MIGHTY® and TUFFY® dog toys shown in Exhibits 1-14

create a distinctive visual impression and trade dress.

       78.    The above-described distinctive trade dress features of Plaintiff’s

MIGHTY® and TUFFY® dog toys shown in Exhibits 1-14 are entirely ornamental, and

are not functional in nature.

       79.    Upon information and belief, Taj purposely simulated such distinctive trade

dress features of Plaintiff’s dog toys shown in Exhibits 1-14 to unfairly benefit from the

goodwill and consumer recognition associated with the counterpart dog toys long sold by

Plaintiff.

       80.    Taj’s Critter Creed dog toys shown in Exhibits 1-14 are essentially “knock-

offs” of the corresponding Plaintiff’s dog toys shown in each of Exhibits 1-14, and

falsely designate the origin of such dog toys.

       81.    Taj’s Critter Creed dog toys shown in Exhibits 1-14 are likely to confuse

purchasers regarding the source and/or origin of such products.




Page 14 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
           Case 3:20-cv-01101-SI     Document 1            Filed 07/08/20   Page 15 of 24




          82.   Taj’s Critter Creed dog toys shown in Exhibits 1-14 are likely to cause

confusion, or to cause mistake, or to deceive, the public into believing that such Critter

Creed dog toys originate with, are sponsored by, or affiliated with Plaintiff.

          83.   Purchasers of Taj’s Critter Creed dog toys shown in Exhibits 1-14 are likely

to associate such products with Plaintiff.

          84.   Upon information and belief, Taj’s Critter Creed dog toys shown in

Exhibits 1-14 are not of the same quality as Plaintiff’s corresponding products, and

Plaintiff’s reputation for supplying high quality dog toys is being damaged by the sale

and distribution of Taj’s Critter Creed dog toys shown in Exhibits 1-14.

          85.   Plaintiff’s MIGHTY® and TUFFY® dog toys shown in Exhibits 1-14, and

Defendants’ Critter Creed dog toys shown in Exhibits 1-14, are marketed and sold to the

same class of consumers, namely, dog supply vendors, and dog owners, within the United

States.

          86.   Plaintiff’s MIGHTY® and TUFFY® dog toys shown in Exhibits 1-14, and

Defendants’ Critter Creed dog toys shown in Exhibits 1-14, are competitive goods

relative to Plaintiff’s TUFFY® dog toys.

          87.   Plaintiff has never licensed, agreed to, or otherwise consented to

Defendants’ use of confusingly similar trade dress on the Critter Creed dog toys shown in

Exhibits 1-14.




Page 15 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
         Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 16 of 24




       88.     Defendants’ use in commerce, distribution, promotion, offering for sale,

and sale of the Critter Creed dog toys constitutes false designation of origin, false

description, and unfair competition, in violation of 15 U.S.C. § 1125(a).

       89.     Defendants’ use, distribution, promotion, offering for sale, and sale of the

Critter Creed dog toys constitutes trade dress infringement and unfair competition under

the common law, including the common law of the State of Oregon.

       90.     Defendants’ acts of false designation of origin, false descriptions, unfair

competition, and trade dress infringement, as alleged above, have caused and will

continue to cause damage and irreparable harm to Plaintiff and are likely to continue

unabated unless enjoined by this Court. Plaintiff has no fully adequate remedy at law.

                                        COUNT TWO

                                 Copyright Infringement

       91.     Plaintiff hereby repeats and realleges the contents of Paragraphs 1-90 as if

fully set forth herein.

       92.     Plaintiff is the owner of US Copyright Reg. No. VA 1-814-120 dated

February 29, 2012, and entitled “Polly Pig Floral Fleece Pattern”.

       93.     A true copy of US Copyright Reg. No. VA 1-814-120 is attached hereto as

Exhibit 15.




Page 16 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
        Case 3:20-cv-01101-SI         Document 1            Filed 07/08/20   Page 17 of 24




       94        The photo inserted to the right

exemplifies the fleece pattern deposited with

the US Copyright Office along with the

application for US Copyright Reg. No. VA 1-

814-120.

       95     Coastal is selling and

distributing Taj’s Critter Creed brand “pig with pink floral pattern” dog toy incorporating

Plaintiff’s copyrighted “Polly Pig Floral Fleece Pattern” as shown below:




       96.    The fleece pattern design incorporated into Taj’s Critter Creed brand “pig

with pink floral pattern” dog toy is substantially identical to Plaintiff’s copyrighted “Polly

Pig Floral Fleece Pattern” which is the subject of US Copyright Reg. No. VA 1-814-120

of Exhibit 15.



Page 17 – COMPLAINT
                                     KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                              ATTORNEYS AT LAW                               01033930
                                         520 SW YAMHILL, SUITE 600
                                             PORTLAND, OR 97204
                                          TELEPHONE (503) 222-3531
                                           FACSIMILE (503) 227-2980
        Case 3:20-cv-01101-SI         Document 1            Filed 07/08/20   Page 18 of 24




       97.    Plaintiff’s copyrighted “Polly Pig Floral Fleece Pattern” was first published

in 2007 and has been used within dog toys made and sold by Plaintiff since 2007; one

example of a dog toy made and sold by Plaintiff, and incorporating Plaintiff’s

copyrighted “Polly Pig Floral Fleece Pattern”, is shown below:




       98.    Defendants had access to Plaintiff’s copyrighted “Polly Pig Floral Fleece

Pattern” before Defendants began to distribute and sell Taj’s Critter Creed brand “pig

with pink floral pattern” dog toy.

       99.    The fleece pattern incorporated within Taj’s Critter Creed brand “pig with

pink floral pattern” dog toy was copied from Plaintiff’s copyrighted “Polly Pig Floral

Fleece Pattern” without Plaintiff’s knowledge or consent.




Page 18 – COMPLAINT
                                     KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                              ATTORNEYS AT LAW                               01033930
                                         520 SW YAMHILL, SUITE 600
                                             PORTLAND, OR 97204
                                          TELEPHONE (503) 222-3531
                                           FACSIMILE (503) 227-2980
           Case 3:20-cv-01101-SI     Document 1            Filed 07/08/20   Page 19 of 24




         100.   Taj’s Critter Creed brand “pig with pink floral pattern” dog toy infringes

Plaintiff’s copyright registered as US Copyright Reg. No. VA 1-814-120 of Exhibit 15.

         101.   Defendants have engaged in, and are engaging in, copyright infringement

by making and/or distributing copies of Plaintiff’s copyrighted work entitled “Polly Pig

Floral Fleece Pattern” without Plaintiff’s consent.

         102.   All of Plaintiff’s dog toys incorporating its copyrighted “Polly Pig Floral

Fleece Pattern” have been sold and distributed attached to a header card advising that

such products are protected by copyright.

         103.   Upon information and belief, Defendants’ infringement of Plaintiff’s

copyright registered as US Copyright Reg. No. VA 1-814-120 has been intentional and

willful.

         104.   Upon information and belief, Defendants will continue such acts of

copyright infringement of Plaintiff’s copyright registered as US Copyright Reg. No. VA

1-814-120 unless enjoined from doing so by this Court.

         105.   Plaintiff has been damaged by Defendants’ acts of copyright infringement

of Plaintiff’s copyright registered as US Copyright Reg. No. VA 1-814-120 set forth

above.

         106.   Plaintiff is the owner of US Copyright Reg. No. VA 1-847-904 dated

March 28, 2012, and entitled “Red Paw Print Fleece Pattern”.

         107.   A true copy of US Copyright Reg. No. VA 1-847-904 is attached hereto as

Exhibit 16.

Page 19 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
        Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 20 of 24




       108.   The photo inserted to the right

exemplifies the fleece pattern deposited with the

US Copyright Office along with the application

for US Copyright Reg. No. VA 1-847-904.

       109.   Coastal is selling and distributing

Taj’s Critter Creed brand ring activity dog toy incorporating Plaintiff’s copyrighted “Red

Paw Print Fleece Pattern” as shown below:




       110.   The fleece pattern design incorporated into Taj’s Critter Creed brand ring

activity dog toy is substantially identical to Plaintiff’s copyrighted “Red Paw Print Fleece

Pattern” which is the subject of US Copyright Reg. No. VA 1-847-904 of Exhibit 16.




Page 20 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
        Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 21 of 24




       111.   Plaintiff’s copyrighted “Red Paw Print Fleece Pattern” was first published

in 2004 and has been used within dog toys made and sold by Plaintiff since 2004; one

example of a dog toy made and sold by Plaintiff, and incorporating Plaintiff’s

copyrighted “Red Paw Print Fleece Pattern”, is shown below:




       112.   Defendants had access to Plaintiff’s copyrighted “Red Paw Print Fleece

Pattern” before Defendants began to distribute and sell Taj’s Critter Creed brand ring

activity dog toy.

       113.   The fleece pattern incorporated within Taj’s Critter Creed brand ring

activity dog toy was copied from Plaintiff’s copyrighted “Red Paw Print Fleece Pattern”

without Plaintiff’s knowledge or consent.

       114.   Taj’s Critter Creed brand ring activity dog toy infringes Plaintiff’s

copyright registered as US Copyright Reg. No. VA 1-847-904 of Exhibit 16.




Page 21 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
           Case 3:20-cv-01101-SI     Document 1            Filed 07/08/20   Page 22 of 24




         115.   Defendants have engaged in, and are engaging in, copyright infringement

by making and/or distributing copies of Plaintiff’s copyrighted work entitled “Red Paw

Print Fleece Pattern” without Plaintiff’s consent.

         116.   All of Plaintiff’s dog toys incorporating its copyrighted “Red Paw Print

Fleece Pattern” have been sold and distributed attached to a header card advising that

such products are protected by copyright.

         117.   Upon information and belief, Defendants’ infringement of Plaintiff’s

copyright registered as US Copyright Reg. No. VA 1-847-904 has been intentional and

willful.

         118.   Upon information and belief, Defendants will continue such acts of

copyright infringement of Plaintiff’s copyright registered as US Copyright Reg. No. VA

1-847-904 unless enjoined from doing so by this Court.

         119.   Plaintiff has been damaged by Defendants’ acts of copyright infringement

of Plaintiff’s copyright registered as US Copyright Reg. No. VA 1-847-904 set forth

above.

         WHEREFORE, Plaintiff requests:

         (1)    That the Court preliminarily and permanently enjoin Defendants and their

employees, agents, representatives, successors, and assigns and all persons in active

concert or participation with them, from: (a) using Plaintiff’s distinctive trade dress

described above, any confusingly similar variations thereof, and/or any colorable

imitations thereof, in conjunction with the distribution, promotion, display, offering for

Page 22 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
        Case 3:20-cv-01101-SI       Document 1            Filed 07/08/20   Page 23 of 24




sale and/or sale of pet toys, including dog toys; (b) reproducing and making copies of

Plaintiff’s copyrighted fleece patterns, preparing derivative works based on Plaintiff’s

original copyrighted fleece patterns, distributing copies of Plaintiff’s copyrighted fleece

patterns to the public by sale or other form of transfer, and/or publicly displaying

Plaintiff’s copyrighted fleece patterns; and (c) otherwise unfairly competing with Plaintiff

in the manner alleged herein; 15 U.S.C. §1116; 17 U.S.C. §502.

       (2)    That the Court order that all such dog toys, product labels, signs, prints,

packages, wrappers, receptacles, marketing materials, and advertisements in the

possession of Defendants simulating Plaintiff’s distinctive trade dress and/or Plaintiff’s

copyrighted fleece patterns, and all plates, molds, matrices, and other means of making

the same, to be delivered up and destroyed; 15 U.S.C. §1118; 17 U.S.C. §503.

       (3)    That the Court order Defendants to pay to Plaintiff such damages sustained

by Plaintiff and to account for and pay to Plaintiff such profits realized by Defendants as

the law allows: (a) in consequence of Defendants’ acts of federal false designation of

origin, false descriptions, unfair competition, and trade dress infringement; 15 U.S.C.

§§1114, 1117; (b) in consequence of Defendant’s acts of state trade dress infringement

and unfair competition; and c) either Plaintiff’s actual damages and any additional profits

of Defendants resulting from copyright infringement, or statutory copyright damages, at

the discretion of Plaintiff; 17 U.S.C. §504.




Page 23 – COMPLAINT
                                   KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                            ATTORNEYS AT LAW                               01033930
                                       520 SW YAMHILL, SUITE 600
                                           PORTLAND, OR 97204
                                        TELEPHONE (503) 222-3531
                                         FACSIMILE (503) 227-2980
        Case 3:20-cv-01101-SI        Document 1            Filed 07/08/20   Page 24 of 24




      (4)      That the Court find that the circumstances and actions of Defendants are

sufficient to merit an award of exemplary damages to Plaintiff in the amount of three

times the amount found as actual damages; 15 U.S.C. §1117.

      (5)      That the Court order Defendants to pay Plaintiff its costs and expenses

related to this action; 15 U.S.C. §1117; 17 U.S.C. §505.

      (6)      That the Court order Defendant to pay Plaintiff its attorneys’ fees related to

this action; 15 U.S.C. §1117; 17 U.S.C. §505.

      (7)      That the Court award such other and further relief as the Court deems

appropriate.

                                 JURY TRIAL DEMAND

      Plaintiff requests a trial by jury on all issues so triable in accord with Rule 38 of

the Federal Rules of Civil Procedure.

      DATED this 8th day of July, 2020.

                                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.



                                                      s/ Thomas R. Rask, III
                                                    Thomas R. Rask, III
                                                    Oregon State Bar No. 934031
                                                    520 SW Yamhill Street, Suite 600
                                                    Portland, OR 97204-1329
                                                    Telephone: (503) 222-3531
                                                    Facsimile: (503) 227-2980
                                                    trask@kelrun.com

                                                    Attorneys for Plaintiff



Page 24 – COMPLAINT
                                    KELL, ALTERMAN & RUNSTEIN, L.L.P.
                                             ATTORNEYS AT LAW                               01033930
                                        520 SW YAMHILL, SUITE 600
                                            PORTLAND, OR 97204
                                         TELEPHONE (503) 222-3531
                                          FACSIMILE (503) 227-2980
